  Case: 1:14-cr-00287 Document #: 437 Filed: 05/16/22 Page 1 of 1 PageID #:2646




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 UNITED STATES OF AMERICA,
                                                   Case No. 1: 14-cr-00287-6
        V.
                                                   Hon. Charles R. Norgle
 JAMES CARROLL,

               Defendant.


                                            ORDER

Defendant's emergency motion to continue sentencing hearing [436] is granted, due to
Defendant's counsel's representations regarding his health. In-person sentencing set for
5/17/2022 is stricken and re-set for 8/17/2022 at 1:30 p.m.


       IT IS SO ORDERED.
                                             ENTER:

                                                   &¼/·'
                                             CHARLES RONALD N ' RO " , Judge
                                             United States District Court
DATE: May 16, 2022
